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               Exhibit
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                   (OGC) (FBI)

From:                         Deputy Director
Sent:                         Sunday, February 2, 2025 5:11 PM
To:                           FBI_SAC's; FBI_ADs AND EADs; HQ-DIV09-CDC
Cc:




Subject:                      Additional Guidance on DOJ Inquiry

Importance:                   High




 All –

 There have understandably been questions and concerns regarding the case personnel
 inquiry from the Office of the Deputy Attorney General on January 31, 2025. Below is an
 FAQ to address some of the questions we have received. It is imperative our employees
 are provided with accurate information. Please do not send any other guidance to your
 field office or division on this matter.

 Rob Kissane
 Acting Deputy Director


     1. Is this Department of Justice (DOJ) request lawful?
        Yes. DOJ, as our parent agency, has the authority to request information about
        our cases and personnel.

     2. Is my name being on the list an indication the FBI believes I was involved in
        misconduct?
        No. We do not view anyone's identification on the list as an indicator of any
        misconduct. Employees are simply assigned to matters based on the
        organization's priorities. Inclusion here merely reflects a snapshot in time of work
        an employee contributed to on behalf of the FBI.



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3. Are personnel identified on the list for involvement in January 6-related
   investigations or prosecutions required to complete the requested
   information on the questionnaire?
   No. While the FBI must be responsive to this lawful request from DOJ, the
   management in each division with an employee on the list is responsible for
   ensuring the information we provide to DOJ is accurate and complete. This is
   simply most efficient to ask employees to submit their own information to ensure
   accuracy, as DOJ has set an aggressive deadline for this request.

   Each division may determine the manner which information is submitted,
   including providing responsive information for their employees via the survey,
   which includes an option to complete the form on behalf of your employee.

   If an employee is uncomfortable providing the basic information requested, they
   may request their management to answer the questionnaire on their behalf.

4. I am the manager of an employee listed for their participation in January 6-
   related investigations or participation, and the employee has requested I
   complete the information on their behalf. Am I required to do so, and how
   do I do it?
   Yes. It’s important to ensure we are responsive to a DOJ request and that our
   response is complete and accurate. The questionnaire has been updated by
   ITADD to enable you to provide the required response on behalf of your
   employee using the same link already provided.

5. How did my or my employee’s name get on this list?
   The FBI has conducted approximately 2,400 investigations (both open and
   closed) related to events that occurred at or near the United States Capitol on
   January 6, 2021. Each of those investigations has an associated Case Manager
   and Case Participant list recorded in Sentinel. The source of the employee list is a
   Sentinel report of Case Managers and Case Participants for those ~2,400
   investigations as of January 30, 2025.

6. In the list of names I received, an employee was identified who has never
   worked on any January 6-related investigation. How do I correct this error?
   Reply to the message you received with the employee list informing the
   Counterterrorism Division which specific employee was erroneously identified as
   having been assigned to a January 6 related case.

7. What exactly did DOJ ask for?
   “[A]ll current and former FBI personnel assigned at any time to investigations
   and/or prosecutions relating to (1) events that occurred at or near the United
   States Capitol on January 6, 2021; and (2) United States v. Haniyeh, et al., 24 Mag.
   438 (S.D.N.Y.). These lists should include relevant supervisory personnel in FBI
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   regional offices and field divisions, as well as at FBI headquarters. For each
   employee included in the list, provide the current title, office to which the person
   is assigned, role in the investigation or prosecution, and date of last activity
   relating to the investigation or prosecution. Upon timely receipt of the requested
   information, the Office of the Deputy Attorney General will commence a review
   process to determine whether any additional personnel actions are necessary.”

8. What is DOJ going to do with this list?
   We are still working with DOJ to better understand the purpose for which the list
   is being sought. The memorandum states “the Office of the Deputy Attorney
   General will commence a review process to determine whether any additional
   personnel actions are necessary.”




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